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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                    :     Hon.      William H.      Walls

             V.                             :     Crim.      No.   11-315

MITCHELL KURLANDER and                      :     COMPLEX CASE ORDER
ALAN ABESHAUS




        This matter having been opened to the Court on the joint

application of the United States of America              (Assistant U.S. Attorney

Eric T.    Kanef sky appearing)     and defendant Mitchell Kurlander                (William

DeStefano,    Esq.   appearing)    and defendant Alan Abeshaus             (Kevin Marino,

Esq.    appearing)   for a complex-case order continuing the proceedings

and excluding time from computation under the Speedy Trial Act of

1974;   and the charges being the result of a lengthy investigation and

the defendants needing sufficient time to review discovery,                    which

includes hundreds of boxes of documents,           and to investigate the

charges and file motions in this case;          and the Court having found,              in

light of the above,      that this case is so complex that it is

unreasonable to expect adequate preparation for pretrial proceedings

and for the trial itself within the time limits established by the

Speedy Trial Act of 1974;         and the Court having found that an order

granting a continuance of the proceedings and excluding time from

calculation under the Speedy Trial Act of 1974 should be entered in

light of the case being complex,         pursuant to 18 U.S.C.         §

3161(h) (7) (B) (ii);   that the ends of justice are served by granting

such a complex-case order;        and for good cause shown,
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        It is on this     //)      day of’/,/ñ                   ,   2011,

        ORDERED that this matter is herby designated as a complex

case pursuant to 18 U.S.C.         § 3161(h) (7) (B) (ii);

        IT IS FURTHER ORDERED THAT the period of discovery in this

matter shall be continued until December 1,              2011;

        IT IS FURTHER     RDERED   hat a case management conference

shall be held on
                                      /     ,   2011,   at

        IT IS FURTHER ORDERED that a motion schedule and/or a
                                                             / ‘I’;
schedule for further proceedings will be set by the Court at that

case management conference;

        IT IS FURTHER ORDERED that the time period from the date of

this order to the date of that case management conference shall

be excluded from computing time under the Speedy Trial Act of

1974;   and

        IT IS FURTHER ORDERED that the remaining provisions of the

Order for Discovery and Inspection shall remain in full force and

effect.
                                                             /               I


                                                Z/                       1




                                     United States Dis               ict Judge
